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                                       WILLIAM L. TRANSIER
                              bill@transieradvisors.com Mobile: 713.201.6100
                                         www.transieradvisors.com


 Executive with four decades of management and board leadership experience:
 • Independent director for over three decades including roles as executive and non-executive
    chairman, lead director, chairman of audit, compensation and special committees of boards of
    directors and as sole independent director;
 • Extensive restructuring experience involving complex international capital structures with
    both public and private companies; plan and wind down administrator;
 • Co-founder, Chairman and CEO of Endeavour, an international upstream energy company, a
    NYSE and LSE-listed international oil and gas company;
 • Chief Financial Officer of Ocean Energy, a NYSE-listed international oil and gas company; and
 • KPMG International Auditing and Consulting-Partner and Global Energy Industry Leader

EXPERIENCE
 Transier Advisors, LLC (2015 to present)
 Founder and Chief Executive Officer
 Dallas, Texas
 http://transieradvisors.com

 An independent advisory firm providing operational improvement, turnaround, restructuring, interim
 executive leadership and mentoring, wind down and plan administrator services. Recent restructurings
 where Mr. Transier has served as an independent board member have included Sears Holdings Corporation,
 Westinghouse Electric Company, LLC, Waypoint Leasing Holdings, Ltd., Exide Technologies, Emerge
 Energy Services, Furie Operating Alaska, Gastar Exploration Inc., Stonegate Production, LLC, Paragon
 Offshore PLC, CHC Group Ltd., The Brock Group, Inc., Country Fresh Acquisition Corp., and S-
 Evergreen Holding Company

 Endeavour International Corporation (2004 to 2015)
 Co-Founder, Chairman of the Board, Chief Executive Officer and President
 Houston, Texas; Denver, Colorado; Aberdeen, Scotland and London, England


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 An international oil and gas exploration and production company with dual listings on the New York and London
 stock exchanges. The Company’s strategy was to pursue mature petroleum systems through the development of
 green field, brownfield and stranded reserves. The original geographic focus was the North Sea and later
 expanded into two different unconventional plays in North America. The Company grew from a start-up into an
 integrated exploration and development company with production of approximately 20,000/boepd and an
 enterprise value of $1.6 billion in 2014. Endeavour was recognized as a successful exploration and development
 company that identified, explored for and developed new oil and gas fields in the North Sea that remain in
 production today.

 Ocean Energy, Inc. (1996 to 2003)
 Executive Vice President and Chief Financial Officer
 Houston, Texas

 An international upstream energy company that transformed itself into a focused and successful exploration and
 development company operating in the offshore and deep waters of the Gulf of Mexico, West Africa and Brazil.
 Enterprise value grew through a series of mergers, acquisitions and divestitures from approximately $500 million
 to $5.3 billion in less than seven years.

 Transier was responsible for the Company’s financial strategy that achieved investment grade status from the
 credit rating agencies. He was also directed the Company’s business development activities, which included
 multiple mergers and acquisitions transactions. The Company’s transformation eventually led to the successful
 merger with Devon Energy in 2003.

 KPMG LLP (1976 to 1996)
 Partner
 Houston, Texas

 Transier was a partner and leader of the Firm’s global energy practice. In 1986, he was the lead partner overseeing
 the restructuring of Panhandle Pipeline Corporation resulting in the spinoff and recapitalization of Anadarko
 Petroleum Corporation. In 1991, he started the Firm’s office in Moscow.


BOARD LEADERSHIP
 Current Corporate Boards
 Helix Energy Solutions Group, Inc. (NYSE:HLX) (Offshore well intervention and specialized robotics since
 2000) Non-Executive Chairman of Board since July 2017
 Former Lead Independent Director
 Former Chairman and current member of Audit Committee
 Former Chairman of Compensation Committee

 Westinghouse Electric Company, LLC (Nuclear technology and services since 2018)
 Independent Director, Chairman of Audit Committee and member of Risk Committee

 Teekay Offshore Partners L.P. (NYSE:TOO) (Marine energy transportation and service since 2019)
 Chairman of Audit Committee and member of Conflicts Committee

 Halcon Resources Corporation (Permian Basin oil and gas since 2019)
 Non-Executive Chairman of the Board since 2019


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Exco Resources, Inc. (North American oil and gas since 2019)
Independent director, Chairman of Audit Committee and member of Strategic Planning Committee

Current Corporate Boards Involving Restructurings

Exide Technologies (Stored electrical energy products and services since 2019)
Independent Director and Chairman of Audit Committee and member of Finance Committee

Emerge Energy Services (Manufacture and distribution of proppant (frac) sand since 2019)
Independent director and member of Special Restructuring Committee

Furie Operating Alaska, LLC (Alaska oil and gas since 2019)
Independent director, member of Restructuring Committee

Past Corporate Boards Involving Restructurings

Sears Holding Corporation (Retail general consumer goods since 2018)
Restructuring Committee, Subcommittee of Restructuring Committee and member of Liquidating Trust board
Waypoint Leasing Holdings, LTD (Helicopter leasing company since 2018)
Sole independent director, Chairman of Compensation Committee, and post-effective plan administrator
Stonegate Production Company, LLC (North American oil and gas since 2016) Sole independent director and
winddown administrator
Country Fresh Acquisition Corp (Provider of fresh-cut fruit, vegetable and snacking solutions to retail and
foodservice outlets), Sole independent director
S-Evergreen Holding Company (the holding company for the Savers/Value Village family of thrift
companies), Independent director
Gastar Exploration Inc. (North American oil and gas) Audit and Reserve Committee member
Westinghouse Electric Company, LLC (Nuclear technology and services) Chairman of Audit Committee and
Compensation Committees, Special Restructuring Committee
The Brock Group, Inc. (Scaffolding, painting and insulation services for diverse industries)
Independent Director
CHC Group, Ltd. (Helicopter services) Member of Audit and Health, Safety and Environmental Committees
Paragon Offshore PLC (Offshore drilling) Chairman of Compensation Committee, Chairman of Finance and
Risk Committee and member of Audit Committee; oversight of plan administrator (D&T London)
Endeavour International Corporation (International oil and gas exploration and development) Co-founder,
Chairman, CEO and President

Past Corporate Boards

Endeavour International Corporation (International oil and gas exploration and development) Co-founder,
Chairman, CEO and President
Paragon Offshore PLC (Offshore drilling) Chairman of Compensation Committee, Chairman of Finance and
Risk Committee and member of Audit Committee
Cal Dive International Corporation (Offshore diving and marine contractor) Lead Independent Director,
Chairman of Compensation Committee
Reliant Energy, Inc. (Wholesale and retail electric) Chairman of Audit and Compensation Committees and
member of the Executive Committee
Metals USA, Inc. (Manufacturing specialty metals and components) Chairman of Audit Committee
Past Non-Profit Boards
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 Child Advocates, Inc. – Chairman
 Escape Family Resources – Chairman
 Hobby Center for the Performing Arts – Chairman
 Houston Ballet – Vice Chairman
 Natural Gas Supply Association – Chairman
 Texas Department of Information Resources (TDIR) and Texas Online Authority – Chairman appointed by
 Governor Rick Perry



EDUCATION
 Dallas Baptist University, Dallas, Texas
 Master of Arts in Theological Studies (May 2019)

 Regis University, Denver, Colorado
 Master of Business Administration
 University of Pennsylvania’s Wharton School of Business, Philadelphia, Pennsylvania
 KPMG International Partners and Advanced Management Program
 The University of Texas, Austin, Texas
 Bachelor of Business Administration in Accounting

CERTIFICATIONS
 Certified Public Accountant

PERSONAL INTERESTS
 Golf, hiking, travel, African photographic safaris and theological studies.




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